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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 22-cv-22538-ALTMAN/REID


  PIERCE ROBERTSON, et al.,

         Plaintiffs,

  v.

  MARK CUBAN, et al.,

         Defendants.
                                       /

                               ORDER FOLLOWING HEARING

         This cause is before the Court following a discovery hearing held on February 7, 2023. See

  [ECF No. 104]. At the hearing Defendants requested that the current February 23, 2023, deadline

  for the parties to exchange expert witness reports/summaries be extended to May 31, 2023, and

  that the date for exchange of rebuttal expert reports be extended to June 14, 2023. The proposed

  deadline changes would not impact any of the other pre-trial deadlines in the Amended Scheduling

  Order, including the discovery cut-off deadline, which is currently set for July 5, 2023. See [ECF

  No. 58]. The Undersigned concludes there is good cause to grant Defendants’ request.

         Having heard from the parties, in accordance with the ruling from the bench, and for the

  reasons stated on the record, it is ORDERED AND ADJUDGED as follows:

             1. The deadline for the parties to exchange expert witness reports/summaries is now

                 May 31, 2023; and

             2. The parties shall exchange rebuttal expert reports by June 14, 2023.

         DONE AND ORDERED in Chambers at Miami, Florida this 8th day of February 2023.


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                                         LISETTE M. REID
                                         UNITED STATES MAGISTRATE JUDGE




  cc:   U.S. District Court Judge Roy K. Altman; and
        All Counsel of Record




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